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                                                                      #:15331


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                                      12                             UNITED STATES DISTRICT COURT
F ENWICK & W ES T LLP




                                      13                           CENTRAL DISTRICT OF CALIFORNIA
                        LAW
                         AT




                                      14                                      WESTERN DIVISION
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                                      16 ALS SCAN, INC.,                               Case No.: 2:16-cv-05051-GW-AFM
                                      17                     Plaintiff,                [PROPOSED] ORDER
                                      18                                               APPROVING STIPULATION OF
                                                  v.                                   DISMISSAL OF CLAIMS AND
                                      19                                               ACTION OF ALS SCAN, INC.
                                           CLOUDFLARE, INC., et al.,                   AGAINST CLOUDFLARE, INC.
                                      20                                               WITHOUT PREJUDICE
                                                             Defendants.
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                                            [PROPOSED] ORDER APPROVING STIPULATION               CASE NO. 2:16-CV-05051-GW-AFM
                                            OF DISMISSAL OF CLAIMS AND ACTION OF
                                            ALS SCAN, INC. AGAINST CLOUDFLARE, INC.
                                            WITHOUT PREJUDICE
                                      Case 2:16-cv-05051-GW-AFM Document 540-1 Filed 06/20/18 Page 2 of 2 Page ID
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                                        1         The Court approves the Stipulation of Dismissal of Claims and Action of
                                        2 ALS Scan, Inc. Against Cloudflare, Inc. The Court retains jurisdiction over the
                                        3 case for the purpose of adjudicating any disputes relating to the settlement
                                        4 agreement.
                                        5         IT IS SO ORDERED, this ___ day of June, 2018.
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                                        7                                             _____________________________
                                                                                      Hon. George H. Wu
                                        8                                             United States District Judge
                                                                                      Central District of California
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F ENWICK & W ES T LLP




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                                            [PROPOSED] ORDER APPROVING STIPULATION      1             CASE NO. 2:16-CV-05051-GW-AFM
                                            OF DISMISSAL OF CLAIMS AND ACTION OF
                                            ALS SCAN, INC. AGAINST CLOUDFLARE, INC.
                                            WITHOUT PREJUDICE
